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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

 

Plaintiff,
Vv. Violations: 21 U.S.C. § 841(a)(1)
21 U.S.C. § 846
D-1 JOHN KIRKPATRICK M.D., IRtTISe 49
D-2 ROLAND WILLIAMS Case: 2:21-cr-20760
Judge: Edmunds, Nancy 6.
Defendants. MJ: Grey, Jonathan J.C.

Filed: 12-16-2021 At 03:18 PM

/ INDI USA V JOHN KIRKPATRICK Ef AL (SS

 

INDICTMENT
THE GRAND JURY CHARGES:
GENERAL ALLEGATIONS

1. Beginning in or about May 2018, and continuing up to and including
| March 2021, in the Eastern District of Michigan, the named defendants and others,
| both known and unknown to the grand jury, engaged in a scheme and pattern of
illegal conduct involving the unlawful distribution of prescription drug-controlled
substances. Each defendant played different roles, at different times, during the
conspiracy. The purpose of the scheme was for Dr. JOHN KIRKPATRICK to write
prescription opioids, in exchange for cash payments, that could be filled at various
pharmacies. The prescription opioid pills were sold at a substantial profit on the
illegal street market in the Metropolitan Detroit area and elsewhere.

At all times relevant to the Indictment:

2. Dr. JOHN KIRKPATRICK owned Southfield Medical Services

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(“SMS”), which is incorporated in the State of Michigan,

3. From approximately May 2018 to March 2021, SMS was located at
23999 Northwestern Highway and then 20180 W. 12 Mile Rd., Ste. 100B, both in
Southfield, Michigan.

4, During its entire time of operation, SMS’s fundamental purpose was to
issue unlawful opioid prescriptions, in exchange for cash payments, to “patients” or
patient recruiters/marketers. The opioid prescriptions were not issued for the
legitimate treatment of patients, but rather to obtain opioids that could be sold at a
substantial profit on the illegal street market. The primary prescription opioids
illegally prescribed and distributed were Oxycodone, Oxycodone-Acetaminophen
and Oxymorphone.

5. Dr. JOHN KIRKPATRICK was a licensed medica! doctor in the State
of Michigan and was authorized by the Drug Enforcement Administration (DEA) to
prescribe Schedule II] — V controlled substances by issuing prescriptions, provided
that such prescriptions were issued in the normal course of professional medical
practice.

6. As part of the conspiracy, ROLAND WILLIAMS, and others who are
both known and unknown to members of the grand jury, recruited “patients” to be
seen by Dr. KIRKPATRICK. WILLIAMS and Dr. KIRKPATRICK required all
“patients” to pay cash for the office visit, and they charged different amounts of

money depending on the quantity, type, and dosage of the prescription opioid that

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the patient recruiter/marketer requested and received. After a cursory examination
or no examination at all, Dr. KIRKPATRICK would write multiple prescriptions,
without medical necessity and outside the scope of professional medical practice, to
the “patients” recruited by ROLAND WILLIAMS, and others.

7. As part of the conspiracy, Dr. KIRKPATRICK required each “patient”
to have certain records in a patient file before he would write a controlled substance
prescription. ROLAND WILLIAMS and other employees of SMS created
fraudulent medical records, including MRI reports and Michigan Automated
Prescription System (MAPS) reports, to give the appearance of legitimacy.

8. As part of the conspiracy, Dr. KIRKPATRICK authorized electronic
prescriptions for Schedule II controlled substances, which were issued under Dr.
KIRKPATRICK’s DEA license and without a medical evaluation by the doctor.

9. During the conspiracy, Dr. KIRKPATRICK prescribed more than
574,604 dosage units of Schedule II controlled substances.

COUNT ONE

(21 U.S.C. §§ 841(a)(1), 846 — Conspiracy to Possess with Intent to Distribute and
to Distribute Controlled Substances)

D-] JOHN KIRKPATRICK, M.D.,
D-2 ROLAND WILLIAMS,

10. Beginning in or about May 2018, and continuing until in or about
March 2021, in the Eastern District of Michigan, Southern Division, the defendants
Dr. JOHN KIRKPATRICK and ROLAND WILLIAMS, and others, both known and

unknown to members of the grand jury, did knowingly, intentionally, and unlawfully

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conspire and agree with each other and other persons not named in this indictment,
to possess with intent to distribute and to distribute controlled substances, including
but not limited to the Schedule IT drug Oxycodone and the Schedule II drug
Oxymorphone. These prescription drug controlled substances were distributed
outside the scope of usual professional medical practice and for no legitimate
medical purpose, all in violation of Title 21, United States Code, Sections 846 and
841(a)(1).
COUNTS TWO —- EIGHT
(21 U.S.C. § 841(a)(1) — Unlawful Distribution of Controlled Substances,
18 U.S.C. § 2 - Aiding & Abetting)

D-1 JOHN KIRKPATRICK, M.D.,
D-2 ROLAND WILLIAMS

11. On or about each of the dates set forth below, in the Eastern District of
Michigan, Southern Division, defendants Dr. JOHN KIRKPATRICK and ROLAND
WILLIAMS did knowingly, intentionally, and unlawfully distribute, and aid and
abet each other in distributing, the identified prescription drug controlled substances

by writing prescriptions outside the scope of usual professional medical practice and

for no legitimate medical purpose, in the names of individuals as follows:

 

 

 

 

 

 

 

COUNT ONORABOUT — PATIENT oleae Ce) DOSAGE
Ye SUBSTANCE aS
2 9/5/2018 R.W. Oxymorphone HCI 40 mg 60
3 4/15/2019 C.L. Oxycodone HCI 30 mg 90
4 8/13/2020 D.M. Oxycodone Acetaminophen 90)
10-325 mg
5 8/13/2020 LH. Oxycodone HCI] 30 mg 90
6 1/19/2021 K.H. Oxycodone HCI 30 mg 90
7 3/2/2021 RS. Oxycodone HCl 30 mg 90
8 3/11/2021 C.M. Oxycodone HC! 30 mg 90

 

 

 

 
 

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All in violation of Title 21, United States Code, § 841(a)(1) and 18 U.S.C. § 2.

FORFEITURE ALLEGATIONS
(21 U.S.C. § 853 — Criminal Forfeiture)

12. The allegations set forth above in this Indictment are hereby
incorporated by reference as if they were set forth in full herein for the purpose of
alleging forfeiture against each defendant pursuant to Title 21, United States Code,
Section 853.

13. Pursuant to Title 21, United States Code, Section 853(a), upon
conviction of the controlled substance offense in violation of Title 21, as alleged in
Counts One through Seven of this Indictment, the convicted defendant(s) shall
forfeit to the United States: (a) any property, real or personal, constituting or derived
from any proceeds obtained, directly or indirectly, as a result of such violation; and
(b) any property, real or personal, used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of such violation. As part of the
forfeiture in this case, the government intends to seek a forfeiture money judgment
against one or more of the charged defendants.

14. Substitute Assets: If the property described above as being subject to
forfeiture, as a result of any act of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the Court;

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d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided
without difficulty;
it is the intent of the United States, pursuant to 21 U.S.C. 853(p) to seek to forfeit
any property of the defendant up to the value of the forfeitable property described
above.

THIS IS A TRUE BILL

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

 

SAIMA S. MOHSIN
Acting United States Attorney

s/ Regina R. McCullough
REGINA R. MCCULLOUGH
Chief, Health Care Fraud Unit
Assistant United States Attorney

 

S/ Alison Furtaw
ALISON FURTAW
Assistant United States Attorney

s/ Brandy R. MeMillion

 

BRANDY R. MCMILLION
Assistant United States Attorney

Dated: December 16, 2021

 
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; Case: 2:21-cr-20760 —
United States District Court Criminal Case Co, Judge: Edmunds, Nan
Eastern District of Michigan MJ: Grey Jonathan ‘ a G.

Filed: 12-16-2924
At 03:18 PM
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to corr INDI USA V JOHN KI
RKPATRICK ETA
L(Ss

 

 

 

 

 

 

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b}(4)": Judge Assigned:
Ll ves No AUSA’s Initials: AF.

 

 

Case Title: USA v. John Kirkpatrick, et al.

County where offense occurred : Oakland

Check One: Felony [}mMisdemeanor LlPetty
¥_Indictment/ information --- no prior complaint.
indictment/ information --- based upon prior complaint [Case number: ]
indictment/ information —-- based upon LCrR 57.10 (d)} [Complete Superseding section below}.

Superseding Case Information

Superseding to Case No: Judge:

 

{ ]Corrects errors; no additional charges or defendants.
[_|Involves, for plea purposes, different charges or adds counts.
{ |Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

 

December 16, 2021 (hi ons Alu t
Date Alison Furtaw

Assistant United States Attorney

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1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
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